,, a tCaSe 3:09-mc-OO4§£ Document iL Filed 06/08/09 Pag£|D.l Page 1 of 18

Name & Address:

Gregory P. Barchie, Esq. d

Reuben, Raucher & Blum .'~,~ j § ?a.. iii
1100 Glendon Avenue, Tenth Ploor W ‘ 1 i L;_ D -,§
Los Angeles, CA 90024 ‘

 

t d
UNITED sTATEs DISTRICT coURT
CENTRAL DISTRICT oF cALIFoRN§A » ’09 ` Mc 0 4 b 1

 

Gregory Scott Del Amo CASE No_

 

>>z
-‘t "r°\'iv~w ;¢
1 a
, _ CV 07-663-P G (JWJX)
Plaintiff`(s)
V.
Norma“ Ba°°ash and NO Cash’ ‘“C- cERTIFIcATIoN oF JUDGMENT FoR
REGISTRATIoN IN ANoTHER DISTRICT
Defendant(s)

 

 

l Terrv Naiisi , Clerk of this United States District Court certify that the attached
judgment is a true and correct copy of the original judgment entered in this action on NOV€mb€r 10, 2008

. . . D z
as it appears in the record of th1s court, and that* (see below) a e

 

An appeal was taken from the attached judgment ("Order re Attorneys' Fees"), but, on May 14, 2009,the District Court

for the Central District of California granted Plaintiff‘s Motion to Certify the Order re Attorneys' Fees for Registration in
the Southern District of California. Docket #222.

lN TESTIMONY WHEREOF, I sign my name and affix the seal of this Court on ad °`lt;' 0 2

Date

 
    

CLERK, U. S. DI RICTC RT

MvS(vc,(\-?/l@ ’>/€'(""9"4

Deputy Clerl<

`WNlUIHO

* lnsert the appropriate language:

“No notice of appeal from this judgment has been filed, and no motion of any kind listed in Rule 4(a) of the Federal Rules of Appellate
Procedure has been filed.”

no notice of appeal from this judgment has been filed, any motions of the kind s listed in Rule 4(a) of the Rules of Appellate Procedure [*]
have been disposed of, the latest order disposing of such a motion having been entered on [date].”

an appeal was taken from this judgment and this judgment was affirmed by mandate of the Court of Appea|s issued on [date]

“An appeal was taken from this judgment and the appeal was dismissed by order entered on [date].”

[NOTE. The motions listed in Rule 4(a), Fed. R. App. P., are motions: forjudgment not withstanding the verdict; to amend or make additional f`ndings
of fact; to alter or amend the judgment; for a new trial; and for an extension of time for filing a notice of appeal ]

 

Cv-ioi (09/08)

dv

CERTIFICATION OF JUDGMENT FOR REG[STRATION IN ANOTHER DISTRICT

Case 3:09-mc-OO461 Document1 Filed 06/08/09 Pa.qe|D.Z Pa e 2 of 18
Case 2:07-cv-0066* »G-JWJ Document 172 Filed r7/2008 age 1 of 16

. Link to 150 & 151 0
UNTI`ED STATES DISTRICT COURT' '
CENTRAL DISTRICT OF CALIFORNIA{

CIVIL MINUTES - GENERAL

November 7, 2008

 

 

 

 

 

y The Honorable Philip S. Gutierrez, United States District Judge

 

 

Wendy K. Hernandez Not Present n/ a
Deputy Clerk Court Reporter Tape No.
Attorneys Present for Plaintiff(s): Attorneys Present for Defendant(s):
Not Present Not Present

Proceedings: (In Chambers) Order on Plaintiff’s and Defendants’ Motions for
Attorney’s Fees and Costs

Before the Court are Plaintiff’s and Defendants’ separate Motions for Attorney’s Fees and
Costs. The Court finds the matter appropriate for decision without oral argument. Fed. R. Civ.
Proc. 78; Local R. 7-15. After considering the moving and opposing papers, the Court
GRANTS IN PART AND DENIES IN PART Plaintiff’s Motion and DENIES Defendants’
Motion.

I- B_A_L<QBQULD

In January 2007, Plaintiff Gregory Scott Del Amo (“Plaintift”) commenced the instant
action against Defendants Norman Baccash (“Baccash”) and No Cash, Inc. (“No Cash”)
(collectively, “Defendants”). Originally, Plaintift’s lawsuit contained five claims: (l) copyright
infringement under the Copyright Act,l (2) misappropriation of a person’s photograph and/or
likeness under California Civil Code section 3344,2 (3) misappropriation of a person’s
photograph and/or likeness under common law, (4) unjust enrichment, and (5) unfair
competition pursuant to California Business and Professions Code section 17200.

Over the next eleven months, Plaintiff incurred an estimated $33,000 in attorney’s fees
while prosecuting this action. However, as soon as Defendants retained new counsel in late

 

1 For ease of presentation and for the remainder of this Order, the Court will refer to this claim as the
“copyright claim.”
2 For ease of presentation and for the remainder of this Order, the Court will refer to this claim as the

“section 3344 claim.”
cv 07-663 cleL MINu'rEs - GENERAL Page 1 or 16

 

Case 3:09-mC-Og£§1 Document1 Filed 06/08/09 BQ,Q.Q|D.S Pa e 3 Of 13
Case 2:07-cv-0066 3-JWJ Document 172 Filed ' /2008 age 2 of 16

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

CaseNe ~ ~ Cv 07-663 PsG (JWJX)

 

§., November 7, 2008
Title 11 §, / 11 Gregory Scott Del Amo v. Norman Baccash, et al.

November 2007, Plaintiff’s fees increased exponentially. Mostly this was due to the fact that
Defendants barraged Plaintiff with a litany of unnecessary motions, such as inappropriate ex
parte applications to extend the discovery cut-off date, improperly filed motions for summary
judgment, and patently unreasonable motions for reconsideration In addition, Defendants, often
without explanation, would engage in bad-faith litigation practices, thereby wasting both
Plaintiff and the Court’s precious time and expense. For example, despite Plaintiff’s willingness
to stipulate to waive the Demand for Jury Trial weeks before trial, Defendants nonetheless
steadfastly insisted on proceeding by way of jury trial. Then, without warning or reason,
Defendants, on the first day of trial, abruptly changed their mind. As a result of Defendants’
unexplained conduct, both Plaintiff and the Court wasted finite resources preparing for that form
of trial.

Besides engaging in wasteful litigation practices, Defendants consistently and
unapologetically abused the discovery process. Indeed, during the two-day bench trial that
began on April l, 2008, the Court “found that Defendants knowingly violated this Court’s orders
and the Federal Rules of Civil Procedure by refusing to produce financial records to Del Arno.”
See F indings of Fact and Conclusions of Law (July 15, 2008), 6:9-11. Additionally, the Court
“determined that Defendants attempted to evade discovery production duties.” Id. at 6:13-17.

At the conclusion of the trial, the Court determined that Plaintiff failed to establish the
required nexus between Defendants’ infringing activities and their indirect profits, thus
precluding recovery of damages under the Copyright Act. See F indings of Fact and Conclusions
of Law (July 15, 2008), 10:28-11:18, 1424-7. The Court did, however, determine that damages
were warranted under California Civil Code section 3344. See id. at 18:21-28 (finding that
pursuant to the statutory framework of the California Civil Code, Plaintiff could recover
$10,500). As for the other three claims, since Plaintiff withdrew them immediately prior to the
commencement of the bench trial, all issues relating to them were rendered moot.

On August 13, 2008, the Court entered a final judgment in Plaintiff’s favor and awarded
Plaintiff $10,5 00 in statutory damages under California Civil Code section 3344. See Judgment
(Aug. 13, 2008). Additionally, the Court permanently enjoined Defendants from “any future
infringement of Plaintiff’s photographs” and also ordered Defendants “to return any and all
copies of these photographs within their possession to Plaintiff s counsel.” Id. at 2:1-9.

II. LEGAL STANDARD

 

CV 07-663 CIVlL MlNUTES - GENERAL Page 2 of 16

 

Case 3:09-mc-O 461 Document '1 Fi|éd 06/08/09 F’a.qe|D.Af Page4of 18
Case 2:07-cv-006 »G-JWJ Document 172 Filed /2008 Page3of 16

Link to 150 & 151 O
UNITED STATES DISTRICT COURT
CENTRAL DIS'I`RICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

CaseNo. CV 07-663 PSG(JWJX) patel November7, 2008

 

Title ~ Gregory Scott Del Amo v. Norman Baccash, et al.

 

Under the “American Rule,” each party in a lawsuit ordinarily shall bear its own
attorney’s fees unless there is express statutory authorization to the contrary. Christiansburg
Garmem‘ Co. v. EEOC, 434 U.S. 412, 415, 98 S. Ct. 694 (1978). However, if a court determines
that a fee award is in order, the court must also calculate the proper amount of the award to
ensure that it is, among other things, reasonable. See Hensley v. Eckerhart, 461 U.S. 424, 433-
34, 76 L. Ed. 2d 40, 103 S. Ct. 1933 (1983).

In Hensley v. Eckerhart, the Supreme Court established that in fee-shifting cases the basis
of a fee award is the “lodestar” -the number of hours expended by the applicable hourly market
rate for legal services. Ia'. at 433. The following factors are subsumed within the lodestar
determination: “(1) the novelty and complexity of the issues, (2) the special skill and experience
of counsel, (3) the quality of representation . . . (4) the results obtained, and (5) the contingent
nature of the fee agreement.” Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir.
1996).

Once calculated, the lodestar amount is presumptively reasonable. Pennsylvania v.
Delaware Valley Citizens ’ Council for Clean Air, 483 U.S. 711, 728, 97 L. Ed. 2d 585, 107 S.
Ct. 3078 (1987); see also Fischer v. SJB-P.D., Inc., 214 F.3d 1115, 1119 n.4 (9th Cir. 2000)
(stating that the lodestar figure should only be adjusted in rare and exceptional cases). The court
must then decide whether to adjust the lodestar amount based on an evaluation of the factors that
have not been subsumed in the lodestar calculation. Kerr v. Screen Extras Guila', Inc., 526 F.2d
67, 70 (9th Cir. 1975). These factors includes

(l) the time and labor required, (2) the novelty and difficulty of the questions
involved, (3) the skill requisite to perform the legal service properly, (4) the
preclusion of other employment by the attorney due to acceptance of the case, (5)
the customary fee, (6) whether the fee is fixed or contingent, (7) time limitations
imposed by the client or the circumstances, (8) the amount involved and the results
obtained, (9) the experience, reputation, and ability of the attorneys, (10) the
“undesirability” of the case, (11) the nature and length of the professional
relationship with the client, and (12) awards in similar cases.

Id. at 70.
III. DISCUSSION

Both Plaintiff and Defendants move for attorney’s fees as well as costs.
cv 07-663 civiL iviiNUTEs - GENERAL Pag¢ 3 erie

 

 

y Case ?>:OQ-mc-Oy § Document 1 Filed 06/08/09 Pa |D.5 Page$of 18
Case 2:07-cv-006» »G-JWJ Document172 Fi|ec "7/2008 Page4of 16

Link to 150 & 151 O

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

   

CV 07-663 PSG (JWJx) November 7, 2008

   

Gregory Scott Del Amo v. Norman Baccash, et al.

A. Attomey’s Fees

Under the governing fee-shifting statutes, recovery of attorney’s fees is limited to the
“prevailing party.” See 17 U.S.C. § 505 (copyright claim); Cal. Civ. Code § 3344 (state
misappropriation claim). Both parties in this action claim that they are the prevailing party with
respect to the copyright claim and the three claims Plaintiff voluntarily dismissed prior to the
bench trial that began on April l, 2008. But of course this cannot be true because, logically
speaking, there can only be one prevailing party in this circumstance. Thus, before determining
what fees, if any, the respective parties are entitled to, this Court must first determine who the
prevailing party on each claim is.

l. Who i_s_ tl_ie Prevailing PU?
a. M Copyright Claim

“Except as otherwise provided by [the Copyright Act], the court may . . . award a
reasonable attomey’s fee to the prevailing party as part of the costs.” 17 U.S.C. § 505 .
Defendants contend that the Court should deem them the prevailing party for purposes of § 505
because “Plaintiff recovered nothing under his claim for copyright infringement.” Def Mot.
7:25. However, neither the facts of this case nor the governing law support this contention.

Contrary to Defendants’ arguments, Plaintiff did indeed recover something under the
Copyright Act. This something, as Plaintiff correctly points out, is a judgment that permanently
enjoined Defendants from “any future infringement of Plaintiff’s photographs” and which also
ordered Defendants “to return any and all copies of these photographs within their possession to
Plaintiff’s counsel.” See Jua'gment (Aug. 13, 2008), 2:1-9. Thus, while Defendants may be
correct that Plaintiff was unable to recover any damages under the Copyright Act, they are

simply incorrect that Plaintiff “recovered nothing under his claim for copyright in&ingement.”
Def Mot. 7:25.

The importance of recovering this judgment against Defendants cannot be overlooked.
Not only does it allow Plaintiff to protect his copyrightable Works, but it also is dispositive as to
who the prevailing party is under the Copyright Act. Controlling precedent establishes that the
prevailing party in an action is “one who succeeds on a significant issue in the litigation that
achieves some of the benefits the party sought in bringing suit.” See Tex. State Teachers Ass ’n
v. Garlana' Ina'ep. Sch. Dist., 489 U.S. 782, 791, 103 L. Ed. 2d 866, 109 S. Ct. 1486 (1989); see

CV 07-663 ClVIL MINUTES - GENERAL Page 4 of 16

 

j Case 3:09-mc-O Document 1 Filed 06/08/09 Pa |D.6 Page 6 of 18
Case 2:07-cv-006 ' ,G-JWJ Document 172 Fi|e ' " /2008 Page 5 of 16

_ Link 10 150 & 151 o
UNITED STATES DISTRICT COURT
cENTRAL msch or cALiFoRNiA

CIVIL MINUTES - GENERAL

case No. Cv 07-663 PSG (JWJX) November 7, 2008

 

Title § ~ Gregory Scott Del Amo v. Norman Baccash, et al.

also Warner Bros., Inc. v. Dae Rim Trading, lnc., 877 F.Zd 1120, 1126 (2d Cir. 1989);
Florentine Art Studio, Inc. v. VedetK. Corp., 891 F. Supp. 532, 541 (C.D. Cal. 1995). The
Ninth Circuit has further explained that a plaintiff will “be regarded as the prevailing party if
[she] succeeds at trial in establishing the defendant’s liability, even if the damages are nominal
or nothing.” Wall Data, Inc. v. Los Angeles County Sherij“s Dep ’t, 447 F.3d 769, 787 (9th Cir.
2006) (quoting 4 Nimmer, Nimmer on Copyright § 14.10[B]).

As noted above, it is beyond dispute that Plaintiff obtained an enforceable judgment
against Defendants. It is also beyond dispute that this judgment directly affects Defendants’
obligations toward Plaintiff. Although it should go without saying, the Court will say it anyway:
'[his judgment would not have been entered in Plaintiff’s favor unless he succeeded on a

significant issue in the litigation that achieved some of the benefits he sought in bringing suit.
Wall Data, 447 F.3d at 787.

In summary, it is apparent from the record that Plaintiff is indeed the prevailing party on
the copyright claim. All contrary arguments raised by Defendants are without merit and
therefore rej ected.

b. California _CM m section M

Under California Civil Code section 3344, the “prevailing party . . . shall be entitled to
attomey’s fees and costs.” As one California Court of Appeal recently confirmed, this
“mandatory fee provision” leaves no room for discretion. See Kirby v. Sega of America, Inc.,
144 Cal. App. 4th 47, 62, 50 Cal. Rptr. 3d 607 (2006). However, this Court does have discretion
to determine who the prevailing party on the section 3344 claim is. Gilbert v. Nat’l Enquirer,
Inc., 55 Cal. App. 4th 1273, 1277, 64 Cal. Rptr. 2d 659 (1997) (finding that the lower court
validly exercised its discretion when it concluded there was no prevailing party following the
plaintiffs voluntary dismissal of the complaint).

Defendants do not dispute that Plaintiff is the prevailing party under California Civil
Code section 3344;3 nor could they. In its F indings of Fact and Conclusions of Law, the Court
determined that Plaintiff was indeed the prevailing party under section 3344. See Findings of
Fact and Conclusions of Law (July 15, 2008), 19:1. This determination was later reaffirmed

 

3 Defendants do, however, argue that Rule 68 of the F ederal Rules of Civil Procedure limits how much
Plaintiff is entitled to recover under his section 3344 claim. The merits of this argument are discussed in

more detail below.
cv 07-663 civii. MINUTES - GENERAL Page s of 16

 

:9-m -O Documentl' Filed 06/08/09 P |D.7 Page70118
cg§§i:i)?-cv-ocoef '§i’;G-JWJ Documenti72 Filec'ag£`?/zma Pageeofie

Link to 150 & 151 0

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

   

CaseNo ' Cv 07-663 PSG (JWJX) pate November 7, 2008

 

Tltle : Gregory Scott Del Amo v. Norman Baccash, et al.

when this Court denied Defendants’ motion to amend judgment See generally Order on
Defendants ’ Motion to Amend Judgment (Sept. 16, 2008), Nevertheless, to avoid any future
confusion, the Court explicitly finds, as it has already done so numerous times before, that under
California Civil Code section 3344, Plaintiff is the prevailing party.

c. h Three Claims Plaintiff Voluntarily Dismissed

 

Prior to a two-day bench trial that began on April 1, 2008, Plaintiff withdrew the
following three state law claims: (1) misappropriation of a person’s photograph and/or likeness
under common law, (2) unjust enrichment, and (3) unfair competition Although both parties
argue that they are entitled to recover attomey’s fees in relation to these claims, only Defendants
argue that this is because they are the prevailing party on these claims.4 Accordingly, for the
time being the Court confines its analysis to Defendants’ argument

In support of their position, Defendants cite to three decisions, two from the Ninth Circuit
and one from the California Supreme Court.5 These three decisions, according to Defendants,
stand for the proposition that when a plaintiff voluntarily dismisses a claim, the defendant in the
action is the prevailing party on that claim. However, What Defendants have neglected to
account for is whether it is even necessary for the Court to distill a rule of law from the cited
authority.

Under the “American Rule,” each party in a lawsuit ordinarily bears her own attomey’s
fees unless there is express statutory authorization to the contrary. See Christiansburg Garment
Co., 434 U.S. at 415; Cil'y and Counly of San Francisco v. Sweet, 12 Cal. 4th 105, 115, 48 Cal.
Rptr. 2d 42 (1995). Here, Defendants do not point the Court to a statute or rule that provides for
the shifting of fees under the present circumstances Accordingly, as there is no statutory grant
of attomey’s fees, the Court refuses to depart from the well-established “American rule.”
Christiansburg Garment Co. , 434 U.S. at 415 ; Sweet, 12 Cal. 4th at 115; see also Int ’l Indus.,
Inc. v. 01en, 21 Cal. 3d 218, 145 Cal. Rptr. 691 (1978) (finding that attomey’s fees should not be
awarded automatically to parties in whose favor a voluntary dismissal has been entered). Since
under the “American rule” both parties would be required to pay for their own attomey’s fees,
there is no need to determine who is the prevailing party on these claims.

 

4 Plaintiff, by contrast, argues that it is entitled to fees under Hensley, 461 U.S. 424.
5 These cases are as follows: All Am. Dislrib. Co. v. Miller Brewing Co., 736 F.2d 530 (9th Cir. 1984),
Corcoran v. Columbia Broad. Sys., Inc., 121 F.2d 575 (9th Cir. 1941), and Santisas v. Goodin, 17 Cal.

4th 599, 71 Cal. Rptr. 2d 830 (1998).
cv 07863 civiL MiNU'rEs - GENERAL Page 6 of 16

 

ease 3:09-mc- Docume'mki Filéd 06/08/09 gageme Page 8 of 18
Case 2:07-cv-006 )G-JWJ Document 172 Fi|ec' 7/2008 Page 7 of 16

Link to 150 & 151 0

UNITED STATES DISTRICT COURT
CENTRAL DIS'I`RICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

case Not Cv 07-663 PSG (JWJX) § mate .. November 7, 2008
T»itle , ' 1 Gregory Scott Del Amo v. Norman Baccash, et al.
d. Conclusion

In summary, the Court finds that Plaintiff is the prevailing party under the Copyright Act,
17 U.S.C. § 101 et seq., and California Civil Code section 3344.

2. Whether Plaintiff s Recoveg; i_s Limited by Statute

In their moving and opposing papers, Defendants raise an important argument as to why
Plaintiff is limited in his recovery of attomey’s fees. Defendants contend that because Plaintiff
failed to register his copyrightable works, Plaintiff cannot recover attomey’s fees for the
copyright claim. On this point, Defendants are undoubtedly correct.

Section 505 of the Copyright Act provides that the court may allow the recovery of full
attomey’s fees and costs by or against any party. 17 U.S.C. § 505. Ordinarily, this is a matter
left to the discretion of the court. Fogerly v. Fantasy, Inc., 510 U.S. 517, 534, 114 S. Ct. 1023
(1994). However, there are specific circumstances where no discretion exists. One such
situation is Where, as here, infringement occurred before registration of the copyright See 17
U.S.C. § 412. In that situation, § 412 mandates that no attomey’s fees or statutory damages are
to be awarded. Id.

Here, not only does Plaintiff concede that he failed to register his Worl<s prior to
Defendants’ infringement but he also admits that his failure to register his works is “the only
reason why [he] is not seeking attomey’s fees as the prevailing party under the Copyright Act . .
. .” Pl. Opp. 6:23-24. Consequently, following the statutory mandate found in § 412, the Court
finds that even though Plaintiff is the prevailing party on the copyright claim, the Court cannot,
as a matter of law, award Plaintiff s attomey’s fees on that claim.

3. Whether Plaintiff _(@ Recover Attorney’s Fees Under Hensley

 

 

 

In his moving papers, Plaintiff argues that he “is entitled to attomey’s fees spent in
connection with all of the claims of relief for his Complaint, and not just his § 3344 claim,
because they all involve a common core of facts.” Pl. Mot. 17-18. Whether this is the case
depends upon the application of Hensley to the case at bar.6

 

6 Although this Court has found that Defendants cannot recover attomey’s fees on the three dismissed

claims, it does not necessarily follow that Plaintiff will not be able to do the same. As the Supreme
cv 07~663 civiL MiNiirEs _ GENERAL Page 7 of 16

 

Cas 3:09-mc-OO¢6-1~ Documentl Filed 06/08/09 P |D.9 Pagerf 18
Casep?:O7-cv-0061 »G-JWJ Document172 Fi|ec' /2008 PageSof16

Link to 150 & 151 O

UNITED STATES DIS'I`RICT COURT
CENTRAL DISTRICT OF CALIFORN[A

CIVIL MINUTES - GENERAL

   

CaseN@ § cv 07-663 PSG (JWJX) pate f November 7, 2008

 

 

Title , Gregory Scott Del Amo v. Norman Baccash, et al.

In Hensley, the Supreme Court instructed district courts on the proper analysis that should
be applied in those cases where a plaintiff succeeds on only some of her claims for relief yet
seeks to recover attomey’s fees incurred on all claims. Hensley, 461 U.S. at 434; see also
Schwarz, 73 F.3d at 901. In such cases, the district court must apply a two-part test, First, the
court asks whether the claims upon which the plaintiff failed to prevail were related to her
successful claims. Hensley, 461 U.S. at 434; see also Schwarz, 73 F.3d at 901. If unrelated, the
final fee award may not include time expended on the unsuccessful claims. Hensley, 461 U.S. at
434-35; see also Schwarz; 73 F.3d at 901. However, if the unsuccessful and successful claims
are related, then the court must apply the second part of the test, in which the court evaluates the
“significance of the overall relief obtained by the plaintiff in relation to the hours reasonably
expended on the litigation.” Hensley, 461 U.S. at 435; see also Schwarz, 73 F.3d at 901. If the
plaintiff obtained “excellent results,” full compensation may be appropriate, but if only “partial
or limited success” was obtained, full compensation may be excessive. Hensley, 461 U.S. at
435-5 7; see also Schwarz, 73 F.3d at 901. As is often the case with matters involving attomey’s
fees, such decisions are within the district court’s discretion Hensley, 461 U.S. at 437; see also
Schwarz, 73 F.3d at 901.

a. Whether the Claims Are Related

________

 

Following Hensley, the first step in this Court’s analysis is an examination of the
relatedness of the claims on which Plaintiff succeeded and on which he failed. As the Ninth
Circuit has noted, related claims will involve “a common core of facts” or Will be based on
related legal theories, while unrelated claims will be “distinctly different” and based on different
facts and legal theories. Schwarz, 73 F.3d at 901 (citing Hensley, 461 U.S. at 434).

Plaintiff correctly points out that the instant case is not a case where there are “distinctly
different claims for relief that are based on different facts and legal theories.” Schwarz, 73 F.3d
at 901. Indeed, central to each claim are the same basic facts: Plaintiff owned various rights in
fourteen photographs and Defendants violated these rights when they displayed the photographs
on their website without Plaintiff’s consent. Thus, this is very much a case that “involve[s] a
common core of facts.” Schwarz, 73 F.3d at 901.

 

Court made clear in Hensley v. Eckerhart, 461 U.S. 424, there are certain times when a plaintiff who
succeeds on only some of her claims can nonetheless recover attomey’s fees for those claims on which
she did not prevail. See id. at 436-37; see also Schwarz v. Sec ’y of Health & Human Servs., 73 F.3d

895, 901 (9th Cir. 1995); 7710rne v. City ofEl Segundo, 802 F.2d 1131, 1141 (9th Cir. 1986).
cv 07-663 civiL MiNUTEs - GENERAL Page a of 16

 

y else :OQ-mc-OOMi-~.Documenm `Filed 06/08/09 Pag,aLQ.lO Page 10 of 18
gase §:07-cv-006t ,G-JWJ Document172 Fi|eo' 7/2008 Pagerf16

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

ease No..~ cv 07-663 PSG (JWJX) Date November 7, 2008

 

'Ilitlei l' \ _ Gregory Scott Del Amo v. Norman Baccash, et al.

This is also a case “based on related theories.” Id. F or example, to prevail on a
misappropriation claim under California Civil Code section 3344, Plaintiff was required to prove
the same four elements that are present in a common law misappropriation claim. See Downing
v. Abercombrie & Fz'tch, 265 F.3d 994, 1001 (9th Cir. 2001). Additionally, Plaintiff’s claims for
injunctive relief under the Copyright Act and California Business and Professions Code section
17200 were essentially claims cut from the same cloth.

In summary, the Court finds that all five claims involved a “common core of facts” and
were “based on related theories.” See Schwarz, 73 F.3d at 901.

_____________-____ _

b. lh_e “Significance of the Overall Relief Obtained l_)y the Plaintiff”

The second part of the analysis requires the Court to evaluate the “significance of the
overall relief obtained by the plaintiff in relation to the hours reasonably expended on the
litigation.” Schwarz, 73 F.3d at 901. At this stage in the case, it is clear that Plaintiff has indeed
obtained significant relief. Plaintiff has recovered damages incurred as a result of Defendants’
misappropriation of the photographs Plaintiff has also obtained a court order that directs
Defendants to turn over the photographs they unlawfully obtained from Plaintiff, and Which
prohibits Defendants from any future infringement See Judgment (Aug. 13, 2008), 2:1-9. Thus,
since Plaintiff has obtained “excellent results” full compensation of attomey’s fees may
therefore be appropriate Schwarz, F.3d at 901.

c. Whether Plaintiff gin Recover Attorney’s Fees Incurred on th_e
Copyright Claim Under Hensley

 

 

 

 

In his Motion, Plaintiff also argues that he is entitled to recover attomey’s fees on the
copyright claim. He bases this argument on an overbroad reading and application of Hensley,
461 U.S. 424. It bears repeating that this Court has already found that Plaintiff is not entitled to
receive attomey’s fees under the Copyright Act. To provide fees for this claim under Hensley
would not only be inconsistent with the purposes underlying the Copyright Act’s registration
provisions, it would also be contrary to the plain language of the statute. See 17 U.S.C. § 412.
Accordingly, the Court rejects Plaintiff's argument that it can recover attomey’s fees for the
copyright claims simply by virtue of the fact that they are “related claims” under Hensley, See
also 4 Nimmer, Nimmer on Copyright § 14.10[A] (2006) (finding only one case where the court
awarded fees to a copyright owner Who had failed to timely register the work and disapproving
strongly of that decision).

d. Conclusion
cv 01863 civiL MiNiJrEs - GENERAL Page 9 or 16

 

d ' - -OO Document1 l|:i|e'c106/08/09 P .11 Page 11 of 18 `§
cCa"J‘~sSeezS:09(‘?<:1}180661'di G-vaJ Document 172 FiledaQQ//zooa Page 10 ofie

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

Case»No.' cv 07-663 PSG (JWJX) v*r)§jate~'i November 7, 2008
Tit~le ` "' Gregory Scott Del Amo v. Norman Baccash, et al.

 

Following Hensley, 461 U.S. 424, the Court finds that the claims on which Plaintiff
prevailed (i.e., the copyright claim and the section 3344 claim) are related to the claims on which
Plaintiff failed (i.e., the three withdrawn claims). Additionally, the Court finds that since
Plaintiff obtained “excellent results,” full compensation may be appropriate on all claims, with
exception of the copyright claim,

4. §§ “Reasonableness” o_f` ge Attomey’s Fees

 

a. Calculating gi_e_ Amount 91`§1§ Award

When calculating an award of reasonable attomey’s fees, district courts in the Ninth
Circuit must use the “lodestar” method Ferland v. Conrad Credit Corp., 244 F.3d 1145, 1149
n.4 (9th Cir. 2001); Caudle v. Bristow Optz'cal Co., Inc., 224 F.3d 1014, 1028 (9th Cir. 2000);
Morales, 96 F.3d at 363. “The ‘lodestar’ is calculated by multiplying the number of hours the
prevailing party reasonably expended on the litigation by a reasonable hourly rate.” Morales, 96
F.3d at 363. Although in most cases, the lodestar figure is presumptively a reasonable fee
award, the district court may, if circumstances warrant, adjust the lodestar to account for other
factors which are not subsumed within it. See Van Gerwen v. Guarantee Mut. Life Co., 214 F.3d
1041, 1046 (9th Cir. 2000); see also Kerr, 526 F.2d at 70 (enumerating factors district courts
may consider in determining fee awards).

The fee applicant bears the initial burden of substantiating the rate claimed and the hours
worked. Dang v. Cross, 422 F.3d 800, 814 (9th Cir. 2005) (citing Blum v. Stenson, 465 U.S.
886, 896 n.l l, 104 S. Ct. 1541 (1984)); see also Schwarz, 73 F.3d at 908. What this means here
is that Plaintiff bears the burden of substantiating the rate claimed and the hours worked on the
section 3344 claim and the three claims he voluntarily dismissed

i. T_he Rate Claimed

In determining whether an hourly rate is reasonable, courts consider the experience, skill,
and reputation of the attorney requesting fees, as Well as whether the hourly rate reflects the
prevailing market rates in the community. Webb v. Ada Counly, 285 F.3d 829, 840 n.6 (9th Cir.
2002); see also Gates v. Deukmejian, 987 F.2d 1392, 1405 (9th Cir. 1992).

 

CV 07-663 CIVIL MINUTES - GENERAL Page 10 of 16

 

§ Case 3:09-mc-OQA»6.'I_ Documentl' Fi|eo|`OG/O8/09 PAQQ,[D.12 Page 12 of 18
Case 2:07-cv-0066k . G-JWJ Document 172 Filed 7/2008 Page 11 of 16

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

}}` November 7, 2008

 

 

caseNo cv 07-663 PSG (JWJX)
Tltle '~ 'J: Gregory Scott Del Arno v. Norman Baccash, et al.
In his declaration, Gregory P. Barchie states that three attorneys and two paralegals

worked on this case, Their names, positions/responsibilities in relation to this case, and hourly
rates are reflected in the following table:

 

 

Name Position/Responsibilities Hourly Rate in Hourly Rate in
2007 2008
Gregory P. Barchie Attorney. 3200 5225

Primarily responsible for researching legal
issues and drafting pleadings and all related
filings.

Timonth D. Reuben Attorney. 15500 3525
Overall responsibility for the prosecution of
this action; lead trial attorney.

Stephen L. Raucher Attorney. 5375 3395
Primarily responsible for the day-to-day
management of this action.

hinda Kava Paralegal 8125 $125

Paralegal 890 $90

 

 

 

 

 

 

 

my Eimerman

 

 

 

Barchie claims that these rates are commensurate with the prevailing rates in the community.
See Barchie Decl. 11 8. Defendants do not contest these rates.

Based on the foregoing representations, the Court finds that the hourly rates listed in the
table above are reasonable hourly rates in this district for the type of work involved in this

proceeding by attorneys with similar skill, experience, and reputation as Plaintiff's attorneys.

ii. Hours Reasonably Expended

 

In addition to bearing the burden of substantiating the rate claimed, Plaintiff also bears
the burden of substantiating the hours worked Dang, 422 F.3d at 814. To carry this burden,
Plaintiff’s counsel must demonstrate that they exercised “billing judgment.” Hensley, 461 U.S.
at 434. This means that counsel must prove that the hours worked were not unreasonable (i.e.,
the hours did not include “excessive, redundant, or otherwise unnecessary” work). Id

Before determining whether the hours worked Were reasonable, a not-so-quick aside is
warranted The Court notes that Plaintiff incurred a great deal of attomey’s fees as a result of
Defendants’ wasteful litigation practices and numerous discovery violations. For example, had

 

CV 07-663 CIVIL MINUTES - GENERAL Page ll of 16

 

v Case 3:09-mc-004'61- Document`l Filed 06/08/09 Pagelp.l€% Page 13 of 18
Case 2107-c -0 6 t 3-JWJ Document 172 Filed /2008 Page 12 of16

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. CV 07-663 PSG (JWJx) D`at"ej § November 7, 2008

 

Title y Gregory Scott Del Amo v. Norman Baccash, et al.

Defendants not abused the litigation process, Plaintiff most likely would not have incurred the
following fees:

$7,235.00 ~ Services related to Motions to Compel Discovery

$3,880.00 - Services related to opposing Defendants’ ex parte
Application to Continue Trial and Trial-Related Dates

$l,589.25 - Services related to opposing Defendants’ ex parte
Application for an Order Shortening Time to Continue
Discovery Cut-Off Date

$6,047.00 - Services related to Del Amo’s First Motion for Issue
and Evidence Sanctions

$3,033.00 - Services related to Del Amo’s Second Motion for
Issue and Evidence Sanctions

Importantly, this list is not exhaustive; rather, it is simply a small sample of motions that
this Court most likely would not have had to entertain if Defendants had not engaged in
abusive litigation practices. This point is being emphasized because a cursory
comparison of the attomey’s fees incurred with the amount of damages awarded to
Plaintiff does appear, especially at first blush, to be disproportionate But when one takes
into account the subtleties and nuances of this case, one gains (as one would expect to) a
much more accurate understanding of the consequences of Defendants’ abusive practices
Specifically, one gains an understanding that Plaintiff incurred a great deal of his fees as a
direct consequence of Defendants’ decision to unnecessarily and unreasonably prolong
this litigation

Now, Defendants attempt to frame their conduct as being part and parcel of a zealous
litigation strategy. But even assuming there is a fine line between zealous advocacy and
disobedience, blatantly ignoring court orders - as Defendants have done so throughout the
litigation - clearly falls on the side of disobedience See F indings of Fact and Conclusions of
Law (July 15, 2008), 6:9-18 (finding that Defendants knowingly violated this Court’s Orders and
the F ederal Rules of Civil Procedure by refusing to produce financial records to Plaintiff). This
all being said, the Court can now determine whether, upon closer scrutiny, the hours Worked by
Plaintiff’s counsel Were reasonable.

~~ ~~ mvn. Mmirms . GENERAL Page 12 orie

 

CaSe 2207-CV-0066~» .-S-JWJ Document 179 Filprl voan i:>~.,\ m -¢ m

 

'Case 3:09-mc-OO4¢O'1-.Document1 Filed 06/08/09 Pagel.|,").ld. Page 14 of 18
Case 2:07-cv-0066c. 3-JWJ Document172 Filed . 1'/2008 Page130116

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

CaseNo Cv 07-663 PSG (JWJX) 01 e November 7, 2008
Ti`itle l § ` Gregory Scott Del Amo v. Norman Baccash, et al.

To substantiate the hours worked, Plaintiff has provided the Court with a copy of
its attorneys’ billing records. Based on that record, the Court calculates that counsel
provided Plaintiff with 712 hours of legal services during the eighteen months between
the time Plaintiff first met with counsel and the time the instant Motion is being
entertained7 If the Court applied the rates provided by Plaintiff’s counsel, then Plaintiff
would be responsible for $203,053.75 in attomey’s fees.g However, as noted above, the
Court has found that that Plaintiff is not entitled to recover attomey’s fees for work on the
copyright claim. Thus, Plaintiff’s recovery must reflect that finding.

Based on its familiarity with, and knowledge of, all aspects of this case, as well as
its review of the billing statements provided by Plaintiff, the Court finds that a great deal
of the work completed by Plaintiff’s counsel on the non-recoverable claim (i.e., the
copyright claim) overlapped with the Work completed on the recoverable claims.
Accordingly, the Court declines to apportion attomey’s fees based on a pro rata basis
since it would, in many instances, be impossible to do so. Instead, the Court takes a more
holistic approach and considers the totality of the circumstances of the case. In doing so,
the Court finds that Plaintiff is entitled to 80% of the attomey’s fees requested, or
$162,443.00. This sum represents the amount of work completed on the recoverable
claims as well as the work completed for both the non-recoverable and recoverable
claims. lt does not, however, include work completed solely for the copyright claim,

iii. Conclusion
Based on the foregoing, the Court awards Plaintiff $162,443.00 in attomey’s fees.
B. §os_ts
In addition to requesting attorney’s fees, both parties also request costs.

1. Which Plrty i_s the Prevailing PM _o_n t_he Three Claims Plaintiff
Voluntarily Dismissed

 

7 This number includes the hours expended in handling the present Motions for Attorney’s Fees and
Costs.

8 This number takes into account the varying hourly rates of the attorneys and paralegals that Worked on
this case.

cv 07-663 civiL ivnNu'riss - GENERAL Page 13 of 16

 

l Case 3:09-mc-OQ#6;L. Documenfl Filed106/08/09 PAgo.LD.lB Page 15 of 18
Case 2:07-cv-0066`,. 3-JWJ Document172 Filed ,'/2008 Page14 of16

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

caseth cv 07-663 PSG (Jwix) are November 7, 2008

 

Title : " _ Gregory Scott Del Amo v. Norman Baccash, et al.

 

Federal Rule of Civil Procedure 54(d)(l) provides that costs other than attomey’s fees
shall be allowed as of course to the prevailing party unless a federal statute, the Federal Rules of
Civil Procedure, or a court order otherwise directs. This Rule, according to the Ninth Circuit,
creates a presumption iri favor of awarding costs to a prevailing party. Berkla v. Corel Corp.,
302 F.3d 909, 921 (9th Cir. 2002). It also, however, vests discretion in the district court to
refiise to award costs. Id.; Ass ’n of Mexican-American Educators v. Cali'fornz`a, 231 F.3d 572,
591 (9th Cir. 2000) (en banc). `

lt is well-established that a court may award costs to a defendant after a plaintiff
voluntarily dismisses the action with or without prejudice. See Sequa Corp. v. Cooper, 245 F.3d
1036, 1037-38 (8th Cir. 2001) (per curiam). However, where a plaintiffs dismissal is without
prejudice, neither party prevails for purposes of Rule 54(d)(l). Ia'. at 1037. Here, Plaintiff
voluntarily dismissed the three claims Without prejudice. Thus, following Sequa Corporation,
neither party is the prevailing party on these claims. Since neither party is the prevailing party
on these claims, it follows that neither party is entitled to costs incurred while prosecuting, or
defending against, these claims.

2. Plaintiff s Costs

 

a. Whether l_{_i_lle _6_8 Limits Plaintiff’s Recovery
Before addressing the reasonableness of the costs claimed by Plaintiff, the Court first
addresses an argument raised by Defendants. lt is Defendants’ position that since Plaintiff
rejected a settlement offer under Rule 68 of the Federal Rules of Civil Procedure, Plaintiff
cannot collect 1/4 of any costs the Court believes is due to Plaintiff under California Civil Code
section 3344.

In relevant part, Rule 68 of the Federal Rules of Civil Procedure provides that “any time
more than 10 days before the trial begins, a party defending against a claim may serve upon the
adverse party an offer to allow judgment to be taken against the defending party . . . .” “If the
judgment finally obtained by the offeree is not more favorable than the offer, the offeree must
pay the costs incurred after the making of the offer.” Id.

Based on the foregoing, Defendants believe they are entitled to costs that relate to the
Sunny Leone photograph. They reason that since Plaintiff"s recovery of $750.00 in relation to
the Sunny Leone photograph is far below the offer of $4,382.00 made by Defendants under Rule
68, this Court must, in accordance with Rule 68, award them costs. However, what Defendants

 

CV 07-663 CIVIL MINUTES - GENERAL Page 14 of 16

 

v Case 3:09-mc-OQA'6L Document'l Filed 06/08/09 PAgalD.l€ Page 16 of 18
Case 2:07-cv-0066;,. 3-JWJ Document 172 Filed ’/2008 Page 15 of 16

Link to 150 & 151 O

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

CaseNo cv 07-663 PSG (JWJX) Date ~. November 7, 2008
Title Gregory Scott Del Amo v. Norman Baccash, et al.

 

 

fail to appreciate is that in analyzing whether Rule 68 bars a prevailing party from recovering
costs, a court must consider not just the eventual judgment against the non-prevailing party, but
also the attomey’s fees that had accrued before the Rule 68 offer was made. See Corder v.
Gates, 947 F.2d 374, 381 (9th Cir. 1991).

On March 13, 2008, Defendants made a Rule 68 offer. By that time in the case, though,
Plaintiffs attorneys had already accrued tens of thousands of dollars in attorney’s fees. See
Barchie _Decl., Ex. A, pp. 12-93. Thus, from the record it is evident that the statutory award plus
the pre-offer accrued fees exceeded the Rule 68 offer of $4,382.00. For this reason, the Court
finds that Defendants’ Rule 68 offer does not limit Plaintiff’s recovery under section 3344.

b. Analysis o_f Costs Claimed

Plaintiff seeks to recover costs not itemized in Plaintiff’s Bill of Costs. These
costs supposedly amount to $8,168.63. See Pl. Mot., 16. Presumably, Plaintiff seeks to
recover these costs as costs related to its California Civil Code section 3344 claim.
However, for the reasons that follow the Court declines to award Plaintiff these costs.

As an initial matter, the Court notes that although California Civil Code section
3344 expressly provides that the prevailing party in an action under that section is entitled
to an award of costs, it is also silent as to which costs are to be awarded Under
California law, where a statute authorizes an award of fees and costs, but is silent as to
which costs are to be awarded, California courts look to California Code of Civil
Procedure section 1033.5, which sets forth those costs that may and may not be recovered
in a civil action.9 Davis v. KGO-T. V., Inc., 17 Cal. 4th 436, 442, 71 Cal. Rptr. 2d 452
(1998); see also Shulman v. Group W. Productions, 51 Cal. App. 4th 580, 59 Cal. Rptr.
2d 434 (1996) (superseded on unrelated grounds); Page, 960 F. Supp. 1438.

In his Motion for Attorney’s Fees and Costs, Plaintiff seeks to recover costs that, with the
possible exception of charges for deliveries of courtesy copies, are non-recoverable under

 

9 For costs purposes in this instance, the Court applies California Code of Civil Procedure section
1033.5 rather than Rule 54(d) of the Federal Rules of Civil Procedure, The Court does so because it
finds that the state law damages provision permits a prevailing party to recover costs as an element of
compensatory damages. See Page v. Something Weird Video, 960 F. Supp. 1438 (C.D. Cal. 1996).
Accordingly, state law and not federal law controls the assessment of costs. Clausen v. M/VNEW
CARISSA, 339 F.3d 1049, 1064-66 (9th Cir. 2003).

 

CV 07-663 CIVIL MINUTES - GENERAL Page 15 of 16

 

d Case 3:09-mc-OO#6~J.` Document/1 Filed006/08/09 Pagelp.l? Page 17 of 18
Case 2107-cv-00668. 3-JWJ Document 172 Filed ."/2008 Page 16 of 16

Link to 150 & 151 0
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

case No j Cv 07-663 PSG (JWJX) Date November 7, 2008
Title '~ ij Gregory Scott Del Amo v. Norman Baccash, et al.

 

California Code of Civil Procedure section 1033.5. See, e.g., Ladas v. California State Auto.
Ass ’n, 19 Cal. App. 4th 761, 776, 23 Cal. Rptr. 2d 810 (1993) (finding that costs incurred while
performing online legal research are not recoverable pursuant to section 1033.5(b)(2) because
they were excluded as “investigation expenses”). The burden was on Plaintiff to make clear
which costs it could recover. Plaintiff, has, however failed to delineate the recoverable costs
from the non-recoverable costs. Accordingly, based on the inadequacy of the record before it,
the Court finds that it cannot apportion the recoverable costs from the non-recoverable costs,
For that reason, the Court DENIES Plaintiff’s Motion for Costs.

IV. C_O_N_.CLUM
Based on the foregoing, the Court:
1. GRANTS Plaintiffs Motion for Attorney’s Fees in the sum of 8162,443.00;
2. DENIES Plaintiff’s Motion for Costs; and,

3. DENIES Defendants’ Motion for Attorney’s Fees and Costs.

17 / l '/ 0 .
l hereby attest _and certh on .Q...._..._Z.. q .-' '

that the foregoing document isafull true . ~.
and correct cop of the original on file in `
my oftice, and l my legal custody.

  

CLERK U.S. DlSTHlCT COURT

cENT 1. isT let c FoaNiA
.¢ c
oEPuTY t n /

CV 07-663 CIVIL MINUTES - GENERAL Page 16 of 16

 

 

Case 3:09-mc-OO¢1¢6~1 Documentl Filed 06/08/09 PagelD.18 Page 18 of 18

Court Name: USDC California Southern
Divieion: 3

Receipt Number: CA8001779

Cashler ID: sramlrez

Transaction Date: 06/08/2009

Payer Name: REUBEN RAUCHER AND BLUM

 

MISCELLANEUUS PAPERS
For: REUBEN RAUCHER AND BLUM
Amount: $39.00

 

CHECK
Check/Money Order Num: 25114
Amt Tendered: $39.00

 

lotal Due: $39 .00
Total Tendered: $39.00
Chanee Amt: $0.00

09MCO461

There will be a fee of $45.00
charged for any returned check.

